                                                                        CLERK'S OFFICEU.S.DIST.COURT
                                                                               AT RCW NOKE,VA
                      IN THE UNITED STATES DISTRICT COURT                           FILED
                      FOR THE W ESTERN DISTM CT OFVIRGINIA
                                  ROANOKE DIVISION                              N0î
                                                                                  / 1s 2212
                                                                           JU    C.DUDLEM CLEFQI
                                                                          BY:    ,
JEFFR EY A . M AY S,                                                             EP    L
AdministratorfortheEstateof
DAVID W AYNE M AYS,deceased,                    CivilAction No.7;18CV00102

      Plaintiff,                                M EM ORANDUM OPIM ON

                                                By:Hon.Glen E.Corlrad
                                                SeniorUnited StatesDistlictJudge
RON A LD N .SPRINK LE,etal.,

       D efendants.


       David W ayneM ays(çr avid'')died atCarilionRoanokeM emorialHospitalon July 28,
2016, after being arrested in Botetourt Cotmty. Jeffrey M ays, David's brother and the

adm inistratorofhisestate,subsequently filed thisaction againstthe SheriffofBotetourtCotmty,

RonaldSprinkle,andeightoftheSheriff'softkers,assertingclaimstmder42U.S.C.j 1983and
Virginialaw. Thecaseispresently before thecourton the defendants'motion to dismiss. For

thefollowingreasons,theplaintiff'sclaimsunderj 1983willbedismissed ptlrsuanttoFederal
Rule ofCivilProcedlzre 12(b)(6). The courtwilldeclineto exercisesupplementaljudsdiction
overthestatetortclaim s.

                                       Backeround

       The following facm al allegations,taken f'
                                                rom the plaintiff's amended complaint, are

accepted astnze forpurposes ofthe pending m otion. See Erickson v.Pardus,551 U.S.89,94

(2007)(KtgW qhennzlingon adefendant'smotiontodismiss,ajudgemustacceptastrueal1ofthe
facmalallegationscontainedinthecomplaint.').




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       On July25,2016,oneofSheriffSprinkle'sdeputiesfotmdDavid asleep and slumped over

thesteeringwheelofaparked vehicle. Am.Compl.!16,Dkt.No.25. Thedeputyobserved a
                                              a David evenm ally awoke and advised the
bag ofprescription medication pextto David. J#.
deputythathehadtaken gabapentinand alprazolam . 1 J.
                                                   I. Thedeputy notedthatDavid'sspeech
wasslurred,thathiseyeswerebloodshot,andthathehaddifficulty standing up andstayingawake.

Ld-a David wascharged with profaneswearing and publicintoxication. J-
                                                                    1J.S Hewasultimately
lireleasedonhisownmcognizance,ashewassoberenough to leavetmderllisownpower.'' JJ-,
David did notundergo any form ofm edicalevaluation and hisprescription m edication wasnot

confscated. 1d.

       Thenextday,David'smothercalled911andrequestedmedicalassistance. 1d.!20. She
advised thedispatcherthatDavidEthad consumed alcoholand prescription narcotics,''thathewas

liextremely intoxicatedy''and thatshe needed help rem oving him from a vehicle. 1d. Deputy

DnnielFaulkneranived onthescenetofsndDavidsittinginthecab ofhistruck. JZ !21. The
plaintiffallegesthatDavidwasçsso intoxicated hecould hardly lifthisheadto commtmicate.'' Id.

David'seyeswerebloodshot,hisspeechwasmum bledand slurred,andhisgaitwastmsteadyupon

exitingthetruck. 11
                  .
                  1s HesubsequentlyGilayhimselfdowninthebedofthepiclcuptnzckdespiteit
being fu11ofwater.'' Jd.! 25. Deputy Joshua Golladdwaspresentattherearofthetnzck and
witnessed(David's)levelofintoxicationandthesurroundingcirctlmstances.'' Id.!22.
       Davidwasonceagainarrestedforpublicintoxication. ld.IJ19. Atsomepointdtlringthe
arrest,FaulknernoticedGtabagf'ullofmultipl'
                                          eprescriptionnarcoticstotherightofwheregDavidj
was seated.'' J-I.
                 L ! 23 (internalquotation marks omitted). The bag contained a bottle of
gabapentin capsules which had been prescribed on July 23,2016,and a bottle of citalopram

       i According to the am ended complaint, gabapentin is prescribed for the treatm ent of epilepsy and
neuropathicpain. Am.Compl.!17. Alprazolam (knowncommerciallyasXanax)isacontrolledsubstanceusedto
treatarlxiety. Id.!18.
                                                  2

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capsuleswhich had been prescribed on July 7, 2016.2 Id. Theplaintiffallegesthat91capsules

ofgabapentinarlda1l30capsulesofcitaloprnm weretmaccountedfor. J#=.
      W hileonthescene,Faulknerspokewith an attorney with theCom monwealth'sAttorney's

Office in BotetourtCounty regarding potentialchrges. 1(. ! 26. Faulkner informed the
attorney aboutDavid'stilevelofintoxication,thefactthathehadlain down in standingwater,and

thefactthatnarcoticsand alcoholwere involved.'' Id.

      SergeantSteven Honakerarrived on thesceneand assistedFaulknerwith placing David in

apatrolvelzicle. Id.!27. Faulknerthentook David to see amagistrate. 1d.!28. W hileen
route,David Gtpassed outand began to snore.'' Id. Upon mniving atthe m agistrate's ofsce,

Deputy Faulknerhadtocalloutto Davidseveraltimesin orderto awakenhim. J.I.
                                                                        J
                                                                        Z.! 29. The
deputyalsohadtohelpDavidstepoutofthevehicle. J#=.
      TheplaintiffallegesthatDeputy M ichaelPrillnman and LieutenantTravisBelcher cnme

upon thescene and witnessed David'slevelofintoxication. Id.!! 30-31. Prillaman assisted
Faulknerwith çtwalking (David)into thedocket.'' 1d.! 30. BecauseDavid lçwasunableto sit
uprighton the bench due to impainnent,''Belcheradvised him to sitatthe end ofthe bench and

leanagainstthewall. Id.!32.
      The magistrate ultimately Gcordered thatgDavidlbe held untilsober.'' 1d.! 33. At
approximately midnight,Sergeant Brandon Byers helped Belcher place David in a cellatthe

BotetourtCotmty Jail. Ld.us! 34-35. David required assistance removing ltis shoes and
eyeglasses. 1d.!35. Hedidnotreceiveanyform ofmedicalevaluationpriortobeingplacedin
thecell,andnoneofthedefendantsrequestedemergencymedicalassistanceatthattime. JZ !36.
      At3:00 a.m .,Belcherand Prillam an performed a sectlrity check by looldng through the

glasswindow ofDavid'scell,through which David could be seen lying on asleeping maton the


      2Citalopram isan Ssantidepressantdrup'' Am . Compl.!24.
                                                3

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floor. J#a.!(38. Roughly twenty m inuteslater,Byersperfonned anothersecurity check in the
samemnnner. J.tls!39. Approximately two minuteslater,afterleaning closerto thewindow to
obtain abetterview,Byersasked anotherofficerto open David'scell. JZ !! 39-43. Hethen
entered the celland stood nextto David forapproximately 10 seconds. Il
                                                                     J.,! 44. Byersthen
proddedDavid'slegandrealizedthathewmsumesponsive. J.
                                                   z !45.
       ByersattemptedtowakeDavidbyshakingthesleepingmat. J.1
                                                           J.
                                                            S!46. W henthatproved
tmsuccessful,heaskedanotherdeputytoretrievean ammoniapacket. J#z. Hethen attemptedto

checkDavid'spulse. Id.!47.
       Deputiesbeganperformingcardiopulmonaryresuscitation(SCCPR'')atapproximately3:24
a.m. J#.! 48. They continued perfonning CPR forten minutestmtilan emergency medical
services(<(EM S'')tmitanivedatthejail. Id.!48. TheEM S llnittransportedDavidto Carilion
RoanokeM emorialHospital,whereanelectroencephalogrnm ($%EG'')showed nosignsofbrain
activity. Id.! 49-50. David waspronotmced dead on July 28,2016 at12:59 p.m. J.1
                                                                              J.! 51.
Et-f'he cause of death was acute hydrocodone, gabapentin, citaloprnm , and alprazolnm

intoxication.'' 1d.

                                         ProceduralH istorv

       The plaintiff filed this action against Sprizlkle, Faullcner, G olla, H onaker, Prillam an,

Belcher,Byers,DelbertDudding,3andKennyParke/ on March 7,2018. On M ay4,2018,the
plaintifftiled an nm endedcom plaint. In Cotmt1ofthenm ended complaint,theplaintiffassertsa

m ongf'uldeathclaim againsta1lninedefendantstmderVirginiaCodej8.01-50,basedontheories
ofnegligence,gross negligence,and willfuland wanton negligence. In Cotmts11 and 111,the



       3Duddingçsisand wasata1lrelevanttim esherein . . . thecom m anderofthecorrectionsdivision.'' Am .
Compl.!9.
       4 ParkerEsisandwasata1lrelevanttimesherein ...theChiefCorrectionalOfficer.'' Am.Compl.!9.
                                                   4

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plaintiffassertsclaimsfordamagestmder42U.S.C.j1983forallegedviolationsofDavid'srights
tmdertheEighth and/orFoM eenth Am endmentsto theConstimtion oftheUnited States.

       ThedefendantshavemovedtodismissthenmendedcomplainttmderRule12(b)(6). The
courtheld ahearing on themotion via conference callon August7,2018. Them otion hasbeen

fully briefed and isripefordisposition.

                                     Standard ofR eview

       ts-fhe purpose of a Rule 12(b)(6) motion is to testthe suffciency of a complaint''
Edwardsv.CityofGoldsboro,178 F.3d 231,243 (4th Cir.1999). W hen deciding amotion to
dismiss underthisnzle,the courtmustacceptastrue allwell-pleaded allegations and draw all

reasonable facm al inferences in the plaintiff's favor. Erickson, 551 U.S.at 94. GçW hile a

complaintattackedbyaRule12(b)(6)motiontodismissdoesnotneeddetailedfacmalallegations,
aplaintiff'sobligation toprovidethegroundsofhisentitlem entto reliefrequiresm orethan labels

and conclusions,andaformulaicrecitation oftheelem entsofacauseofaction willnotdo.'' Bell

Atl.Corn.v.Twomblv,550U.S.544,555(2007)(internalcitationandquotationmarksomitted).
To survive dismissalfor failtlre to state a claim ,<ta complaintmustcontain sufficient facm al

m atter,accepted astrue,to çstateaclaim forreliefthatisplausibleon itsface.''' Ashcroftv.Igbal,

556U.S.662,678(2009)(quotingTwomblv,550U.S.at570).
                                          D isçussion

       1.     Claim sunder$ 1983

       Thecourtwillfirstaddresstheplaintic sclaimsunderj1983,whichimposescivilliability
on any person acting tmdercolorofstate 1aw to deprive anotherperson ofrights and privileges

secured bytheConstimtion and lawsoftheUzlitedSGtes. See42 U.S.C.j 1983. In CountI1,
theplaintiffclaim sthatFaulkner,Golla,Honaker,Belcher,Prillnm an,and Byersviolated David's

constitm ionalrights by acting with deliberate indifference to a seriousm edicalneed. In Count

                                              5

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111,the plaintiff claim s that Sprinkle,Dudding,and/or Parker Cçcreated a policy of deliberate

indifferenceby allowing inmatesand detaineesto beadmitted into the EBotetourtCounty Jailq
withoutpropermedicalscreening.'' Am.Compl.! 83.
       A.     C ount11

       In moving to dismissCount1I,the defendantsarguethatthe am ended com plaintfailsto

state aclaim fordeliberateindifference,and thatthe defendantsnnm ed in Cotmt11areentitled to

qualifed im munity. Forthefollowing reasons,the courtagrees.

       1.     DeliberateIndifference

       The Eighth Am endmentprohibits correctionalofûcialsfrom inflicting crtleland tmusual

punishmentby acting with deliberate indifferenceto an inm ate'sseriousm edicalneeds. Estelle

v.Gnmble,429U.S.97,104(1976). Thisprinciplealsoappliestopretrialdetainees,likeDavid,
through theFourteenthAm endment'sDueProcessClause. SeeM artin v.Gentile,849 F.2d 863,

870(4thCir.1988). BecauseStgtqhedueprocessrightsofapretrialdetaineeareatleastasgreatas
theeighth nmendm entprotectionsavailableto the convicted prisoner,''theUnited StatesCourtof

AppealsfortheFourthCircuitçthags)heldthatapretrialdetaineemakesoutadueprocessviolation
ifhe shows Qdeliberate indifference to seriousm edicalneeds'within the meaning of Estelle v.

Gnmble.'' 1d.;seealsoBrownv.Hanis,240F.3d383,388(4thCir.2011)(;$Inanycase,weneed
notresolvewhetherBrown wasapretrialdetaineeoraconvictedprisonerbecausethe standard in

eithercaseisthesame--thatis,whetheragovernm entofficialhasbeen Sdeliberately indifferentto

any gofhislseriousmedicalneeds.''')(quotingBelcherv.Oliver,898F.2d32,34(4thCir.1990))
(alterationinoriginal).
       A claim fordeliberate indifferencehastwo components. Jackson v.Lightsey,775 F.3d

170,178(4th Cir.2014). Thefirst,Cçobjective''componentissatisfed by a t'serious''medical
need. Id. A m edical condition is serious when it has Cibeen diagnosed by a physician as

                                              6
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mandating treatm entorisso obviousthateven a1ay person would easily recognizethenecessity

fora doctor's attention.'' Scinto v.Stansberry,841 F.3d 219,225 (4th Cir.2016) (internal
quotationmarksomitted). Thesecond componentrequiresplaintiffstoshow thatoffcialsacted
withaçitsuftïcientlyculpablestateofmind.''' Id.(quotingFannerv.Brezman,511U.S.825,834
(1994)). Under existing precedent,Gçlaqn officialis deliberately indifferentto a Edetainee's)
seriousmedicalneedsonlywhenheorshesubjectivelyçlcnowsofanddisregardsanexcessiverisk
to inmate health or safety.''' Jackson,775 F.3d at 178 (quoting Farmer,511 U.S.at837).
ççstated som ewhatdifferently,deliberate indifference requires ashowing thatthe defendr ts ...

actually knew ofand ianored a detainee'sseriousneed form edicalcaze.'' Parrish v.Cleveland,

372 F.3d 294,302 (4th Cir.2004)(internalquotation marks omitted) (emphasis in original).
Notably,thisisççahigherstandardforculpabilitythanm erenegligenceoreven civilrecklessness.''

Jackson,775F.3d at178. To establish aconstitutionalviolation,Gtitisnotenough thatan official

should have known ofarisk;heorshemusthave had actualsubjectiveknowledgeofboth the
gdetainee's)seziousmedicalcondition and the excessiverisk posed by the offcial's action or
inaction.''5 Id.(emphasisinoriginal).
        Applying these principles,the courtis tm able to conclude that the nm ended complaint

statesaplausibleclaim ofdeliberateindifferenceagainstany ofthedefendantsnnm ed in CotmtII.

W hileDavid'sdeath isundeniablytragic,hisalleged sym ptom saresimilarto thosein anllmberof

        5 Thecourtnotesthatneithersidesuggeststhatthe SupremeCourt'sdecision in Kincsley v. H endrickson,
    U.S. ,l35 S.Ct.2466(2015)eliminated thesubjectivecomponentofaclaim fordeliberateindifference
broughtby a pretrialdetahlee. ln Khmslev,the Supreme Courtheld S'thatthe appropriate standard fora pretrial
detainee'sexcessiveforceclaim issolelyanobjectiveone.'' 135S.Ct.at2473. However,Kingslevdidnotinvolve
aclaim ofdeliberateindifferencetoaseriousmedicalneed,andneithertheSupremeCourtnortheFourth Circuithas
extended itsholding to other claims. Accordingly,the courtwillapply the subjective standard of deliberate
indifferencesetforth above. See.e.a.,Johnsonv.Bessem er,N o.17-13122,2018U .S.App.LEX IS 18660,at*9,n.5
(11thCir.July 10,2018)(notingthatKincslev involvedan excessiveforceclaim and did notundermineexisting
circuitprecedentapplicabletoclaimsofdeliberateindifferencetoaseriousmedicalneed);seealsoW ilsonv.Jacobs,
No.0:14-4006,2016U.S.Dist.LEXIS21243,at*7n.       4(D.S.C.Jan.22,2016),reportandrecommendationadopted,
2016U.S.Dist.LEXIS 20813(D.S.C.Feb,22,2016)(KtBecausethedecisioninKingslevaddressedonly claimsof
excessiveforce,thiscourtcontinuesto abideby precedentestablished by theUnited StatesCourtofAppealsforthe
FourthCircuit,whichhassetforthasubjectivestandardwhenaddressingapretrialdetainee'sclaimsofdeliberate
indifferencetoaseriousmedicalneed.'').

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othercasesin which courts,including the Fourth Circuit,have rejected claims ofdeliberate
indifference. Forinstmlce,in Grayson v.Peed,a cotmty police officerarrived atthe scene ofa

shopping mallwhere the decedent,Gerald Collins,was Stacting crazy.'' 195 F.3d at 694. He

resisted beinghandcuffed andtheoffcerhad to useaspecialim mobilization techniquetorestrain

him. Lp-. After searching Collins' backpack,the officer found film canisters containing
marijuanaand asubstancebelievedtobePCP. L4.a Theoffkerplaced Collinslmderarrestand
transported him to a detention facilil. Id. During the boolcing process,Collins Sçactledq
irrationally,hisspeech wasslurred,alzdhekeptrepeating inanintoxicatedm annen'' Id. Collins

then proceeded to actSGbelligerently''and çiviolently''on severaloccasions,and he wasçdptmched

seven to nine times''in the processofsubduing him . 1d. Afterbeing restrained in a cellatthe

detention facility,Collinsbecam eunconsciousandevenmally died. Id.

       Inasubsequentj1983actionagainstthem estingofficer,Collins'motherclaimedthatthe
officer'sdecision to transporthim to adetention facility insteadofahospitalconstitm ed deliberate

indifference. Id.at695. TheFourth Circuitdisagreed,concluding thattherewasno objective
evidence available to the officeratthe tim e ofthe incidentthatCollins had a serious need for

m edicalcare. 1d. The courtemphasized that,atthe time oftheirencounter,Collinsexhibited

ççno visibleexternalinjuries.'' 1d. Eçl-le did nothavetrouble breathing. Hewasnotbleeding,
wasnotvom iting orchoking,andwasnothavinga seizure.'' Id. Inconcludingthattheevidence

did not supporta claim of deliberate indifference, the Fourth Circuit reasoned that Collins'

symptom sofdrugusedidnotçtdistinguish him from themultitudeofdrug and alcoholabusersthe

policedealwitheverydayy''andthattheofûcercould l&hardly befaulted tmderEstelleforbelieving

thatCollinsneedednothingsomuchasto sleep itoE '' JZ at696. TheCourtemphasizedthat
Cçrtlo acceptappellant'sclaim wouldbeto mandateasamatterofconstitutional1aw thatofficers


                                               8

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take a1lcriminalsuspectsunder the influence ofdrugs oralcoholto hospitalem ergency rooms

ratherthan detention centers,''which itdetermined Slwould bea startling step to take.'' Id.

       Similarly,in Burnettev.Taylor,533 F.3d 1325 (11th Cir.2008),theEleventh Circuit
fotmd no constitutionalviolation under circllm stances sim ilarto those in the instantcase. 533

F.3dat1332-33. InBurnette,adetaineediedofadrug overdosewhilein custody. JZ at1327.
The detainee was arrested afterhis stepfatherreported thathe had broken into the stepfather's
houseand stolen prescription Duragesicpatchesused to treatchronicpain.6 Id. Thedetainee's

stepfatheralso advised adeputy thatthe detainee wasçççstrtmg out'on pillsand othertlnlgs,''and

thathetthadbeen in detox ordrtlgtreatmentin thepastand thatithad notworked.'' Id.at1328.

Atthe tim e of his arrest,the detainee Eçhad glassy eyes and dilated pupils,''his liresponses to

questions were slow,''and he Gtwas in possession ofa bottle ofprescription pills.'' 1d. Itwas

readily apparentto oneofthe deputiesthatthedetaineeKiwastmdertheinfluenceofsom ething.''

Id. Afterhe wastaken to the localjail,a prescription pillbottlewasfotmd in the detainee's
tmderwearandhewasobservedstaggeringby oneofthejailers. Id. Anotherjailernoticedthat
the detainee'sspeech wasslurred. ld.at1329. Therewasalso evidencethatthe detaineetiwas

notabletowalkonhisom&y''andthatoneofthejailersaskedhiscellmatetomakestlrethathewas
ableto getto abed withoutfalling. J.
                                   Z ,Thedetainee wasfound dead thefollowingmonling.
LI.
  J. St-
       l-hecauseofdeathwaspolyphnrmacy:differentdrugsin combination. The(lrugsinvolved
wereAlprazolam,Hydrocodone,Benzolecgonine,andFentanyl.'' J/-,at1130-31.
       The detainee'sfatherfiled suitagainstseveraldeputiesandjailersunder j 1983. On
appealf'
       rom the districtcourt'sdecision denying qualified im m unity,theEleventh Circuitheld that

theplaintiffEtfailedtoestablishaviolationofgthedetainee'sjFourteenthAmendmentdghts. ld.

       6 dr uragesicisabrandname forafentanylskin patch . . . . Iti
                                                                  snotmeanttobeingestedorallynorinjected
undertheskin,butsometimesisbythosewhoareabusingthedrup'' Kriecerv.UnitedStates,842F.3d490,492(7th
Cir.2016);seealsoBurnette,533F.3dat1331n.3.
                                               9
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at1327. Citingseveralcasesfrom othercircuits,theCourtemphasizedthatGtGgtjheConstimtion
doesnotrequire an arresting police officerorjailofficialto seek medicalattention forevery
arresteeorinmatewho appearstobeaffectedby drugsoralcohol.'' J.
                                                             I.
                                                              L at1333. Based onthe
record beforeit,theCourtconcludednoneofthedefendantsactedwith deliberateindifferenceto a

seriousmedicalneedthatwasobviousorknowntohim. Ld.aat1332.
       Upon review oftheam ended complaint,thecoul'tseesvery little difference in the alleged

interactionsbetween Davidandthedefendantsnam ed in CotmtI1,andtheencolmtersdescribed in

Grayson andBurnette. TheplaintiffdoesnotallegethatDavidhadanyextem alinjuries,thathe
wasbreathing abnorm ally beforebeing placed in acell,orthathewasvomiting orchoking. See

Grayson,195 F.3d at695. Although David exhibited signs of intoxication by climbing in the

back ofhiswettruck,staggering,and sluning hiswords,such symptomsdo notGtdistinguish him

from the multitude of drug and alcoholabusers the police dealwith everyday.'' J.
                                                                               Z at696
(emphasizingthatthedecedentççwasfound in possession ofdrugswhileacting irrationally and
slurringhisspeech''). NordoesthefactthatDavid'seyeswerebloodshotorthathewasunableto
exitthepatrolcaronhisown. SeeBurnette,533F.3dat1332(notingthatoneofthedefendants
wasawarethatthedecedentwas in possession ofabottle ofpillswhen hewasr ested,thathis

speech wasslurred,thatheneeded assistancewhen hem oved,andthathiseyeswererolling back

inhisheadatthattime);seealsoLetsonv.M itchell,No.3:13-cv-00168,2015U.S.Dist.LEXIS
39885,at*20 (N.D.Ala.M ar.30,2015)(CW ccordingtothenmended complaint,when Deputy
Frye arrested Dan Letson on October11,2011,Dan Letson wasso intoxicated thathe had to be

canied totheofficers'vehicle. Although theseallegationsprovidedetailregardingthedegreeto

wllich Dan Letson was intoxicated when he was arrested ...,they fallshortofdem onstrating

Deputy Frye or Deputy Flnnnagin knew Dan Letson had a seriousm edicalneed thatrequired

medicalattention atthosetimes.'').
                                             10

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      In response to the defendants'motion,the plaintiffemphasizesthatFaulknernoticed çEa

bagfullofm ultipleprescription narcotics''in David'stnlck,andthatDavid'sm otherhadreported

thatalcoholand prescription narcotics were involved. Am.Compl.! 20,23. However,the
plaintiffdoesnotallege thatFaulknerorany ofthe otherdefendants were aware ofthe specific

natureofthedrugsfound in David'stnlck orthathehadconsum ed an am ountlargeenough toput

him atseriousrisk ofharm . There isnoindication thatany ofthedefendantsacmally saw David

swallow any drugs,andtheplaintiffacknowledgesthatDavid did notççtellany oftheofficerswhat

and how much m edication he had taken or state whetherhe had mixed those medications with

alcohol.'' J#-.!37, Consequently,theallegationsinthecomplaintdonotsupporttheconclusion
thatDavid'sneed form edicalattention wassufsciently obvious,orthatthe defendants actually

knew ofand disregarded an excessiverisk ofserioushnrm. See.e.M.,Johnson v.Bessem er,No.

17-13122,2018U.S.App.LEXIS 18660,at*10 (11th Cir.July 10,2018)(sGlohnson arguesthat
Proctorsuffered from aseriousm edicalneed because alay person would recogrlizethatsom eone

whoisnon-responsiveafterconsuming anllnknown quantityofdrugsrequiresm edicaltreatm ent.

Thatargllmentfails. Goodwin didsuspectthatProctorhadtakendrugsbeforecomingtothejail,
and atsomepointshe leam ed thatProctorhad told otherinmatesthatshehad taken Xanax. But

thereisno evidencethatGoodwin knew thatProctorhad also taken m ethadone and cocaine,and

shetestified thatshehasno m edicaltraining and doesnotknow theside effectsofXanu . And

theQconstimtiondoesnotrequire...(a1jailofficialtoseekmedicalattentionforeveryarresteeor
inmatewho appearsto beaffected by dnzgsoralcohol.''')(quoting Bum ette,533 F.3d at133);
Sandersv.CitvofDothan,409F.App'x285,289(11thCir.2011)(EGEvenifEthearrestingoffcer)
wasawarethatSandershad swallowed some amountofcocaine,there isno evidencethathewas

awarethatSandershadswallowed anamotmtlargeenoughtoputhim atseriousrisk ofharm.'');
W atkinsv.CityofBattleCreek,273F.3d 682,686 (6th Cir.2001)(id-l-hus,itisnotenough for


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plaintiffto demonstrate aquestion offactwhetherthepolice officersorsherifpsdeputiesshould

haveknown thatW atkinshad swallowed drugs. W efind theevidencewasnotsum cientto leada

rationaltrieroffacttoconcludethattheoflicersorjailersknew W atkinsneededmedicalattention
for swallowing dn1gs.''). For these reasons, Cotmt 11 fails to state a claim for deliberate
indifference,

       2.       Oualified Im m unitv

       Thedefendantsalso arguethatCotmt11issubjectto dismissalon thebasisofqualifed
imm unity. The defense of qualifed imm unity sllields ççgovernment officials perform ing

discretionaryfunctions...from liabilityforcivildam agesinsofarastheirconductdoesnotviolate

clearly established statutory orconstitutionalrights of which a reasonable person would have

1c10w11.'' Harlow v.Fitzgerald,457U.S.800,818(1982). çsln determiningwhetheranofficeris
entitledtosummaryjudgmentonthebasisofqualifiedimmtmity,courtsengageinatwo-pronged
inquiry.'' Smithv.Ray,781F.3d95,100(4thCir.2015). Thefirstprongaskswhetherthefacts
alleged,when viewed in thelightmostfavorableto theplaintiff,show thatthe officer's conduct

violated afederalright. 1d.(citing Saucierv.Katz,533 U.S.194,201 (2001)). çç'
                                                                            l-lzesecond
prong ofthe qualified im m unity inquiry a'
                                          sks whetherthe rightw as clearly established atthe tim e

the violation occurred such that a reasonable person would have known thatllis conductwas

unconstitutional.'' Id. GT o be clearly established,a rightmustbe sufficiently clearthatevery

reasonable officialwould have tmderstood thatwhathe is doing violates thatright. In other

words, existing precedent m ust have placed the statutory or constitutional question beyond

debate.'' Reichlev.Howards,566U.S.658,664 (2012)(internalquotationmarks,citations,and
bracketsomitted).
       Forthereasonssetforth above,thecourtconcludesthatthe plaintiffhasnotalleged facts

suffcientto show thatany ofthe defendants nam ed in Count11violated David's constimtional

                                               12

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rights. However, even if the plaintiff could establish a constitutionalviolation,the courtis

convinced thatsuch violation wasnotclearly established. Asindicated above,cotu'tshaveheld

thatSçltjheConstimtiondoesnotrequireanarrestingpoliceoffcerorjailofficialtoseekmedical
attention forevery arresteeorinmatewho appearsto beaffected by drugsoralcohol.'' Burnette,

533 F.3d at1333. Likewise,itdoesnotmandateçsthatoffcerstakeal1criminalsuspectsunderthe

influence of drugs or alcohol to hospital emergency room s rather than detention centers.''

Grayson,195 F.3d at696;seealso EstateofAbdel-l!ak v.Dearborn,8t2 F.2d 1023 (6th Cir.
1989)(lmpublishedtableopirlion)(rejectingaslçmeritless''theargumentthatGipolicehadadutyto
takeallchemicallyimpairedpersonstothehospital'). Althoughpretrialdetaineeshaveaclearly
established righttobefreefrom deliberateindifferenceto aseriousm edicalneed,itcannotbesaid

that'tevery reasonable official''wouldhavetmderstood,underthecircum stancesalleged,thatthe

defendants'actionsviolated thatright. Reichle,566 U.S.at664. Accordingly,the defendants

nnm ed in Count11are entitled to qualified im m urlity.

       B.      C ountIII

       In Count111,theplaintiffallegesthatSprinkle,Dudding,and/orParkerhad Eçfinalpolicy

making authority regardingthescreeningandprovisionofmedicalcare''atthejail,andthatthey
Gscreated a policy of deliberate indifference''by allowing inm ates and detaineesto be admitted

withoutpropermedicalscreening. Am.Compl.!! 81,83. In hisresponseto thedefendants'
m otion to dismiss,theplaintiffemphasizesthata11ofthedefendants,including Sprinkle,Dudding,

and Parker,havebeen sued in theirindividual,ratherthan official,capacities.

       A s an initialm atter,the courtnotes thatthe plaintiffs contention thatSprinkle,Dudding,

and Parkerarepolicym akersGtdoesnotquite captlzrethe relevantissue here.'' D awkinsv.Arthur,

701F.App'x 191,193 (4th Cir.2017). Ir ebatingwhetherapublic (officialqhasadopted an
unconstimtional Ecustom 'or dpolicy' is a question to be asked when examining the basis for



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mtmicipalliability llnder j 1983,'' and ttis not the right question to ask when confronting a
supervisor'spotentialliability in his individualcapacity.'' M ilckelsen v.DeW itt,141 F.App'x

88,91(4th Cir.2005)(emphasisinoriginal). lnstead,Gçwherethe...claimsareagainstapublic
officialin (hisjindividualcapacity,toholdtheoffcialliablefor(ajsubordinate'sconduct,that
çconductmustmeetthetestforsupervisory liability'''enunciated in Shaw v.Stroud,13 F.3d 791

(4thCir.1994). Dawkins,701F.App'xat193(quotingMikkelsen,141F.App'xat91);seealso
Shaw,13 F.3d at799 (setting forth ttthreeelementsnecessary to establish supervisory liability
tmderj1983''). Nevertheless,inlightofthecourt'sconclusionthatthefactsallegeddonotstate
a viable claim for deliberate indifference against the officers responsible for r esting and

detaining David, it follows that the claim against Sprirlkle, Dudding, and Parker m ust be

dismissed. See Doe v.Rosa,664 F.App'x 301,304 (4th Cir.2016) (tThere can be no
supervisoryliabilitywhenthereisnounderlyingviolationoftheConstitution.'')(citingTemkinv.
FrederickCotmty Comm'rs,945F.2d716,724 (4thCir.1991));seealsoBelcher,898F.2d at36
(stBecauseitisclearthattherewasnoconstitutionalviolation weneed notreachthequestion of
whetheramunicipalpolicywasresponsiblefortheofficers'actions.').
       II.    C laim s under V irainia law

       The court'sconclusion thatthe nmended complaintfails to state a claim forreliefunder

j1983doesnotmeanthata11avenuesofredressareunavailable. Theplaintiffhasalsoasserteda
wrongfuldeath claim againstallninedefendantstmderVirginia Code j 8.01-50,based on tort
theoriessuch asnegligenceand grossnegligence. lnm ovingto dism issthiscotmt,thedefendants

arguethattheyareGtimmunetoclaim sofsimplenegligence,''andthatEsDuddingandParkerdidnot

oweM aysanydutiesrelatedtosettingorimplementingpolicies''atthejail. Defs.'Br.in Supp.of
M ot.to Dism iss4,10,Dkt.N o.30.




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       Afterconsidering the parties'arguments,the courtbelieves thatdithe definition of legal

dutiestmderthe1aw oftortisbestleftforthestate courtsto resolvey''asistheissueofwhetherthe

doctrine of sovereign imm tmity protects the defendants from the plaintiffs claim of sim ple

negligence. Safarv.Tingle,859F.3d241,251(4thCir.2017). Accordingly,thecotu'
                                                                          tdeclines
to exercise supplementaljurisdiction overtheremaining claimsand willdismissthem without
prejudice to the plaintiffs right to advance them in state court. 1d.; see also 28 U.S.C.
j l367(c)(3)(authorizingadistrictcourtto declinetoexercisesupplementaljurisdictionwhen it
dthas dismissed a11claimsoverwhich ithasoriginaljtlrisdiction'l;Carnecie-M ellon Urliv.v.
Cohill.484U.S.343,350 (1988)(emphasizingthatGçwhen thefederal-law claimshavedropped
outofthe lawsuitin its early stages and only state-law claim srem ain,the federalcourtshould

declinetheexerciseofjurisdiction by dismissing thecasewithoutprejudice''l;Ryuv.W hitten,
684F.App'x308,311-12(4thCir.2017)(decliningtoexercisesupplementaljurisdictionoverthe
plaintiffsstate 1aw claim safterconcluding thattherewasno federalconstitutionalviolation,and

instructingthedistrictcourtonremandtodismissthestate1aw claimswithoutprejudice),
                                        C onclu:ion

       For the reasons stated,the courtwillgrant the defendants'm otion with respect to the

plaintiY sclaimslmder42U.S.C.j 1983. W hilethecourtsympathizeswiththeplaintiffsloss,
thecourtistmable to conclude thatthenm ended complaintstatesaplausibleclaim ofdeliberate

indifference againstany ofthenamed defendants. Therem aining claim sunderstatelaw willbe

dismissedwithoutprejudice.
       The Clerk is directed to send copies ofthis m em orandum opinion and the accom panying

ordertoa1lcolm selofrecord.

       DATED :This lk      day ofN ovember,2018.


                                            SeniorUnited StatesDistrictJudge
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